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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


  BENJAMIN VIENT,

              Plaintiff,

              v.                                    Civil No. 1:18-cv-1562-LMB-MSN

  GANNET CO., INC.,

              Defendant.



                                               ORDER

        This matter comes before the Court on Defendant’s Motion to Compel Pro Se Plaintiff to

 Comply with his Discovery Obligations (Dkt. No. 99). Having reviewed the Motion, and for the

 reasons stated from the bench, it is hereby

        ORDERED that the Motion is GRANTED. Plaintiff shall submit full and complete

 responses to Defendant’s First Set of Interrogatories, First Set of Requests for Production to

 Documents, and initial disclosures pursuant to Fed. R. Civ. P. 26(a). Plaintiff shall fully comply

 with this Order by 12:00 p.m. on January 24, 2020. Failure to comply with this Order may result

 in sanctions, including the award of Defendant’s attorney’s fees and costs incurred in preparing its

 Motion.




                                                                           /s/
                                                      Michael S. Nachmanoff
 January 17, 2020                                     United States Magistrate Judge
 Alexandria, Virginia
